Case 1:24-cv-00496-JAO-WRP   Document 49-2   Filed 03/18/25   Page 1 of 32
                             PageID.1335




                    Exhibit 2
 Case 1:24-cv-00496-JAO-WRP                                   Document 49-2                    Filed 03/18/25                 Page 2 of 32
                                                              PageID.1336




Cornell Law Library
Scholarship@Cornell Law: A Digital Repository
Historical Theses and Dissertations Collection                                                                 Historical Cornell Law School



1892

Contracts of Infants
Clayton Isaac Miller
Cornell Law School




Follow this and additional works at: http://scholarship.law.cornell.edu/historical_theses
     Part of the Law Commons

Recommended Citation
Miller, Clayton Isaac, "Contracts of Infants" (1892). Historical Theses and Dissertations Collection. Paper 272.




This Thesis is brought to you for free and open access by the Historical Cornell Law School at Scholarship@Cornell Law: A Digital Repository. It has
been accepted for inclusion in Historical Theses and Dissertations Collection by an authorized administrator of Scholarship@Cornell Law: A Digital
Repository. For more information, please contact jmp8@cornell.edu.
Case 1:24-cv-00496-JAO-WRP       Document 49-2           Filed 03/18/25       Page 3 of 32
                                 PageID.1337




        CO0NT RA CT S                    SOF         INFANTS



                               --- oo~oo-....


              G R A D U A T I N G                     THESIS              .



                                                        -OF-----



       CLAYTON                 ISAAC                 MILLER



                           .... oooo-----




                      CLASS                     OF     '93      .



            CORNELL                    U NIVERSITY



                      LA   V        SCHOOL
Case 1:24-cv-00496-JAO-WRP   Document 49-2   Filed 03/18/25   Page 4 of 32
                             PageID.1338
 Case 1:24-cv-00496-JAO-WRP     Document 49-2   Filed 03/18/25   Page 5 of 32
                                PageID.1339
          CONTRACTS               OF       INFANTS.

             All persons are infants, in legal contemplation,

until they arrive at majority.            The period of majority differs

in different     countries, but the general rule is twenty-one

years.     By the Civil law,     which obtains in      some of the old

countries, emancipation does not take place until the person

is twenty-five.

             It is supposed that the selection of the age of

twenty-one,    rather tian     some otner period,      at which majority

should be attained, originated in the old feudal system, as

at that time the      infant was first      presumed   to be physically

capable, if a male, of doing knight's service, and, if a fe-

male,    not before   of a   suitable age, to marry any one upon whom

duties would     devolve.

             Bingham on Infancy,     1.

             The conmon law of England from the earliest              times

has fixed twenty-one as the period of absolute majority for

both sexes.     The same rule applies in most of the United State

though in some of the western states females have an enlarged

capacity    to act at the age of eighteen.

             Stephenson v 'Yestfall, 18 Ill. 209.

             The day upon which the infant attains           his lawful

age is on the beginning of the day next preceding the twenty-

first anniversary of his birth.           Tie case of State v Clark,
Case 1:24-cv-00496-JAO-WRP    Document 49-2   Filed 03/18/25   Page 6 of 32
                              PageID.1340                                  2

3 Harr.    (Del.) was one which arose over the right of a person

to vote before his twenty-first birthday.            Chief J. Bayard in

his opinion said:     "It    is to be observed that a person becomes

of age on the first instant       of the last day of the twenty-

first year next before the anniversary of his birth;               thus,       if

a person were born at any hour of the first day of january,

1801,   (even) a fww minutes before twelve o'clock of the night

of that day, he would be of full age at the first instant of

the 31st of December, 1821, although nearly forty-eight hours

before he had actually attained the fAll          age of twenty-one,

according to years, days, hours, and minutes, because there is

not in law in this respect any fractions of a day;              and it is

the same whether a thing is done upon one moment of the day oi-

another.
Case 1:24-cv-00496-JAO-WRP   Document 49-2   Filed 03/18/25   Page 7 of 32
                             PageID.1341

                              II.

            Ve now come to our main topic,          -he contracts    of in-

fants.   A contract as defined by Story is a deliberate engage-

ment between competent parties upon a leL al consideration to

do or to abstain from doing      some act.     In   its   iidcst   sense it

includes records and specialties, but the term is usually em-

ployed to   designate only simple or parol contracts.              By par1

contracts is to be understood not only verbal and unwritten

contracts, bit all contracts of record not under seal.                This

is strictly the legal signification of the term contract,                in-

asmuch as that reciprocity of consideration and mutuality of

agreement, which are necessary to       constitute a parol agree-

ment, are not necessary in obligations of record and in spe-

cialties.

                              III.

                      VOID ACTS OF AN INFANT.

            The method taken in law to protect an infant against

the effects of his own weakness has been to consider his acts

as not binding, and allow him to       rescind all contracts enter-

ed into by him, with certain exceptions.

            There are, however, two degrees in which his acts or

instruments appear to be not binding:          First, by being as if

they never existed--wholly void;       and, secondly, as being de-

feasible at the election of the party with wYhom they originat-
Case 1:24-cv-00496-JAO-WRP   Document 49-2    Filed 03/18/25   Page 8 of 32
                             PageID.1342

ed;   that is,    voidable only.

            Ringham on Infancy, 8.

            A void act never is and never can be binding,              ei-

ther on the party with whom it originated, or on others.                  No

person claiming through or under it          can succeed, and the void

act   can never at any time or by any means be confirmed or ren-

dered valid.

            Bingham on Infancy 9.

            Any person interested may take advantage of a void

act of an infant, which is not the case when the act is simp-

ly voidable.

            There is much confusion in the older books on the

subject of void and voidable acts and contracts.               But the

courts at a later day ,-"o on the theory that infancy being a

personal privilege, that he should be bound by no act which is

not beneficial to him,and their contracts are divided into

three classes:       (1) Void (2) Voidable     (3) Binding.

            The main difficulty with the courts was to disting-

uish between void and voidable.

            Mr. Bingham, after an exhaustive review of the Eng-

lish cases,      decided that the only safe rule to follow was

that "acts which are capable of being legally ratified are

voidable, and acts which are incapable of being legally rat-

ified are absolutely void.
Case 1:24-cv-00496-JAO-WRP   Document 49-2   Filed 03/18/25   Page 9 of 32
                             PageID.1343                                5

           Bingham on Infancy 234.

          Another rule laid down by Chief J. Parker in tile

case of Witney v Dutch,      14 Mass.   457 was tlat      "whenever the

act done may be for tne infant's benefit, it sniall not be con-

sidered void; but he shall      ave his election ,inen he comes of

age to affirm or avoi3 it.      Another rule, cited and approved

by Judge Story, was that     ",here the court can pronounce that

the contract is   for the benefit of tLe infant, then it shall

bind him, and .Y.vere it is prejudicial to the infant, it shall

be void; and where it is of an uncertain nature, the infant

shall have his election of affirming or avoiding it.

          But these old rules have been to some extent modi-

fied, and the tendenc, of the courts at tnie present time is to

regard all contracts of infancy voidable only.

          In support of this doctrine may be cited the case

of Fetiow v 'Viseman, 40 Ind. 184,      here the authorities are

collected and reviewed, and the rule is stated as follows:

"First, that an infant's contracts for necessaries are as

valid and binding upon the infant as the contracts of an adult;

and that such contracts cannot be disaffirmed, and need not

be ratified before they can be enforced.          Second, the con-

tract of a- infant appointing an agent or attorney is abso-

lutely void and incapable of ratification. Third, any contract

that is illegal by reason of being against a statute or pub-
Case 1:24-cv-00496-JAO-WRP   Document 49-2   Filed 03/18/25   Page 10 of 32
                              PageID.1344

lic policy is absolutely void and incapable of ratification.

Fourth, all other contracts made by an infant are voidable

only, and may be affirmed or disaffirmed by the infant at his

election when he arrives at his majority."

           So also an infant's bond with penalty ana for the

payment of interest was formerly held to be void on the ground

that it cannot possibly be for his benefit.

            Fisher v Mowbray, ' East. 330.

            So a bond executed by a minor as        surety is void.

           Allen v Minor, 2 Call. 70

           An infant's promissory note as         surety is void.

           Maffles v Wightman, 4 Conn. 376.

            But the old authorities at the best are not very

clear upon this point.       All of them seem to admit a distinc-

tion between void and voidable, and yet seem to disagree with

respect to the acts to be      classed under either of those heads.

           One result in which they all appear to agree is

stated by Lord Mansfield in the case of Zouch v Parsons, 3

Burr.,   that whenever the act done may be for the benefit of

the infant, it shall not be considered void, but that he shall

have his election wnen he comes of age to affinm or avoid it,

and this appears to be the only clear and definite proposi-

tion which can be extracted from the authorities.              The appli-

cation of this principle is, however, not free from difficulty,
Case 1:24-cv-00496-JAO-WRP   Document 49-2   Filed 03/18/25   Page 11 of 32
                              PageID.1345                                 7

for when a note or other simple contract is made by an infant

himself, it may be made      ood by his assent without any inqui-

ry whether it was for his benefit or to his Frejudice.                For if

he had made a bad bargain in a purchase of goods, and -ives

his promissory note for the price, and when he comes of age

had agreed to pay the note, he would be bound by his agreement

although he might have been ruined by the purchase.

           I think the reasoning laid down in 'Vhitney v Dutch,

14 Mass. 157, is correct, and the rule which is followed to-

day, namely, "All simple contracts by an infant which are not

founded on an illegal consideration are strictly not void but

voidable, and may be made good by ratification.               They remain a

legal substratium for a future assent until avoided by the

infant, and if instead of avoiding he oonfirm them when he hs

a legal capacity to make a contract, they are in all respects

like contracts made by an adult.

          As an example of the trend of the courts in this di-

rection may be mentioned the case of Yates v Lyon, 61 Barb.

205.   The text-books lay down the rule that an assignment made

by a firm, one of whom is an infant, for the benefit of cred-

itors will be void, and cite the above case as an authority

for tnat proposition;    but a careful reading of the case will

show that the court, although they held that assignment void,

yet were inclined to hold that if the infant be justly indebt-
Case 1:24-cv-00496-JAO-WRP   Document 49-2    Filed 03/18/25   Page 12 of 32
                              PageID.1346                                 8

ed to his creditors, they ought to be paid.             So also, as be-

fore stated, it was formerly held th'at bonds given by infants

vith penalties attached were void, but accor-ing to later de-

cisions they are only voidable.

             Weaver v Jones, 24 Ala. 420.

             Same rule in regard to promissory notes.

             Swasey v Vanderheyden, 10 Johns. 33.

             Fetiow v 71iseman, 40 Ind. 140.

             So also as to the assignment or in. orsement of a

promissory note or bill of exchange.

             Nightingale v Withington, 15 Mass. 272.

             Professor Parsons lays down the rule in general

terms that       "the contract of an infant        (if not for necessa-

ries) is voidable; that is, he may disavow it and so annul it,

either before his majority or within a reasonable              time afte

lt;u   and in a note appended to this declaration, while frankly

admitting that the rule, that those contracts are voidable only

which are for the infant's benefit,          and those which are prej-

udicial are absolutely void, is adopted and recognized by

many authorities, advances the opinion that this distinction

is now practically obsolete, and unqualifiedly asserts that

the more recent authorities 'iold      that all contracts of infamts,

with the exception perhaps of the appointment of an attorney,

are voidable only and none absoliutely void.
Case 1:24-cv-00496-JAO-WRP   Document 49-2     Filed 03/18/25     Page 13 of 32
                              PageID.1347

            Parsons Mercantile      Law 4.

                                  IV.

                   ACTS BINDING UPON THE INstANT.

            Contracts for necessaries are binding upon an infant.

            The ground upon       vhich the contracts      of infats          for

necessaries are enforced has been said to be not because they

are   contracts,   but only "since an infant must live as well as

a man" the law gives a reasonable price            to those who        furnish

him with necessaries.

             This class includes by far the greatest number of

cases in which an     infant is liable on his contracts.                The

legal term "necessaries" is a relative term, not strictly lim-

ited to such things as are absolutely requisite                  for support

and subsistence, but to be construed liberally and varying

with the   degree and   estate,    the rank,    fortune,        and age of the

infant.

            Rainsford v Fernvick, Carter R. 215.

            His real and not his ostensible fortune and circum-

stances, however, constitute the test and criterion as to

whether the articles are necessaries or not.               Story v Perry,

4 Carr. Ic P. 526.

            Another rule laid down in the          case of Peters v

Fleming, 6 1ees. & Wels. 42, is as followvs:               "The term neces-

saries    includes such things as are useful and suitable to
Case 1:24-cv-00496-JAO-WRP      Document 49-2    Filed 03/18/25   Page 14 of 32
                                 PageID.1348                                I0

the state and condition in life of the party, and not merely

such as are required for bare            subsistence.     It is a question

for the jatry whether the articles are such as a reasonable

person of the age and station            of ti:e infant would require for

real use."

               Food, lodging, clothes, medicine, and education, to

use concise words, constitute the five leading elements in t.u

doctrine of the      infant's   necessaries.        But to apply a prac-

tical test we must construe these            five wor'cis in a very liber-

al sense,      and somewhat according to        the social position, for-

tune, prospects, age, circdmnstances,            and general      situation of

the infant himself.

                Schouler 622.

               Articles   of mere ornament      are not necessaries.         The

true rule to be taken is that all such articles as are purely

ornamental are not necessary and are to be rejected, because

they cannot be required for any one; and for such matters,

therefore, an infant cannot be made responsible.                  But if they

were not of this      description,       then the   question arises whether

they w re bought for the necessary use of the party, in order

to support himself properly in the delree, state, and station

of life   in    which he moves.     If    they were   for such articles

the infant may be made responsible.

               Porters v Fleming, 6 1-1., W. 42.
Case 1:24-cv-00496-JAO-WRP   Document 49-2   Filed 03/18/25   Page 15 of 32
                              PageID.1349

             An infant's board bill w,hile attending school is

included among necessaries for which he may be compelled to

pay.

             Kil;ore v Rich, 83 Me. 305.

             In fact anything which is needful to the infant's

wants comes Linder the head of necessaries.

             No express promise is necessary in order to            render

an ihfant liable for necessaries.

             Gray v Ballou, 4 Wend. 403.

             And though an infant is liable on Kis implied con-

tract for necessaries, yet       it seems well settled that he is

not bound by his contract to pay a sum certain therefor as an

account stated, but only for what they are reasonably worth.

             Beeler v Young, 1 Bibb.      519.

             Oliver v Woodroffe,      4 M. & W. 670.

             As a general rule it is the tradesman's duty to ac-

quaint himself    with the infant's      circumstances and necessities,

as well as    to take notice of supplies by other tradesmen;              he

credits him at his peril.

             Davis v Caldwell, 12 Cush. 513.

             Kline v L' Armoureux, 2 Paige Ch. 419.

             But under   certain circumstances     inquiry as to       the-

ther the articles are necessaries may be dispensed witn by

the party firnishing the infant.          Thus in the case of Dalton
Case 1:24-cv-00496-JAO-WRP   Document 49-2      Filed 03/18/25   Page 16 of 32
                              PageID.1350                                    12

v Gib, 7 Scott 117, wvlere an infant, living in a style of som

pretension, purchased of a tradesman in the course of fbur

months silks to the amount of thirty-five pounds, some of whicL

were delivered in the presence of her mother, it was held that

this presence of the mother when the da~ighter purchased the

articles, and her omission to reject those which were deliv-

ered to the daughter rendered inquiry unnecessary.                  But   if the

wants of the infant be supplied by his parent               or guardian, or

b" any other person, he cannot tender himself lihble for ar-

ticles which would otherwise be necessaries.

            Angell v Mc Clellan, 16 Mass.             31.

            Waiting v Toll, 9 Johns. 141.

            Among those articles not adjudges necessaries in

ordinary cases are articles of mere luxury for the infant

himself, or    for the entertainment of his friends, horses and

grain or harness for them, unless necessary in carrying on

his business, loans of money, liquor, etc.

            Brooks v Scott,    11 MI.   -:   W. 67.

            WIharton v Mc Kenzie,    5 Q. B. 606.

            Merriam v Cunningham, 11 Cush. 40.

            I think the correct rule          is laid down in Peters v

Fleming, before cited, and the one generally followed by the

courts, viz.,    "that the term necessaries includes such things

as   are useful and suitable to the estate            and condition in
Case 1:24-cv-00496-JAO-WRP      Document 49-2       Filed 03/18/25   Page 17 of 32
                                 PageID.1351

life of the party, and not nerely such as are required for

bare subsistence;      and it   is a question for tue jury whether

the articles are such as a reasohable person of the age and

station of the infant would              require for real use."

                                    V.

      RATIFICATION AND CONFIPATION OF INFANTS' CONTRACTS.

             It is a universal rule             that an infant cannot in any

way affirm his avoidable acts or contracts during his minority.

             Reeves on Domestic Relations 349.

             Corey v Burton, 32 Mich. 30.

             Dunton v Brown, 31 Mich. 182.

             But after an infant has arrived at full age '-e mr

if he chooses ratify any such acts or contracts.                     The mode in

which they ma> be ratified is sometimes prescribed by statute,

but   in the absence of any statutory provision the court in

Kline v Beebe, 6 Conn. 4S4, layd down the folloiing rules,

and claims either will be sufficient:                 (1) BY an express rat-

ification.     (2)   By the performance          of acts   from w.,hich an af-

firmance may reasonably be implied.                 (3) By the omission to

disaffirm .ithin a reasonable time.                In England the question

of ratification is settled by statute providing that the rat-

ification to be binding must be in writing signed by t.ie par-

ty.

             Stat.   9 Geo.   IV,   c.    14.
Case 1:24-cv-00496-JAO-WRP          Document 49-2    Filed 03/18/25     Page 18 of 32
                                     PageID.1352
                In this country some of the states have similar

provisions.

                Thurlow v Gilmore, 40 Me. 37b.

                The authorities seem to be considerably at variance

in   states     where    we have no statute,        which is      generally the

case, as to what will constitute an affirnance.                         One line of

authorities holds that a direct promise after majority is

necessary to establish a direct contract made during minority,

and that a mere acknowledgement                will not have that          effect.

                Brocton v Sears,        4 Allen 95.

                But this doctrine is repudiated in Henry v Root,

33 N. Y. 545.           Judge Davies, in his opinion in this case,                   cites

a large number          of cases,   and discoukses       this    point at       great

length,       and holds       that any act or declaration which recogniz-

es the existence          of the promise as binding is             a ratification

of it.        As in    the case of agency,       anytiing which recognizes

as binding an act done by             an agent,     or by a party who has

acted as agent,          is   an adoption of it."       But     at the best what

amounts to a ratification is a very close question.                           A direct

promise to pay would seem to be a complete ratification, but

then again the question arises as to what is a direct promise.

                I   think the rule laid ,1own by Judge Davies in Henry

v Root,       supra,    correctly    states    the doctrine       in   New York:

"That a new promise, positive and certain,                      equivalent      to a ner

contract, is not essential; but a ratification or confirmation
Case 1:24-cv-00496-JAO-WRP      Document 49-2      Filed 03/18/25   Page 19 of 32
                                 PageID.1353

of what was   -lone    ,luring minority     is    suL'ficient to make the

contv'act obli!atory."

            Practically the same          view is held in Whitney v

Dutch,   14 Mass.     457,   where the    court    says:     "The terms    of the

ratification need not be such as to               import a direct promise

 to pay.    All that is necessary is that the infant after attainl-

ing majority should expressly agree to ratify his contracts

by words, oral or in         writing,    or by acts     which import      a rec-

ognition and a confirmation of the promise."

            Then there is no express promise the general rule

is that acts which show otmership and enjoyment of the prop-

erty with knoviedge of all the circumstances, or recognition

of the validity of the contract, without any act or declara-

tion of disaffirmance, are sufficient; as retaining possess-

ion, using, selling, mortgaging, or converting the property

to the   infant's om use.

            Chapin v Shafer, 409 N. Y. 407.

           Also part payment.

           Henry v Root, 33 N. Y. 526.

           A ratification of the contract has often been infer-

red from the silence of the infant after his arrival at full

age, coupled with his retaining possession of the consideration,

or availing h~mself in        any manner     of his conveyance;         such as

his reception of rent under a            voidable lease.
 Case 1:24-cv-00496-JAO-WRP   Document 49-2       Filed 03/18/25    Page 20 of 32
                               PageID.1354

            Morgan v Morgan,     1 Atk.   4 k.

             The omission to disaffirm a contract within a ra-

sonable time has been held sufficient ratification.

            2 Kent's Com.     295.

            Dallas, J.,   in the case of Holmes v Blogg, 8 Taunt.

35, said:     "The infant is bound to give notice              Lf    the disaf-

firmance    of a voidable contract      within a reasonable            time."

In this case the court held that he ought to give notice with-

in four months.     But this point has been discussed in several

cases in different states, and they hold what will be a rea-

sonable time will be governed by the circumstances in each

case.

            Jenkins v Jenkins, 12 Ia. l95.

            Stout v Merrill, 35 Ia. 56.

            Wallace's Lessee v Lewis, 4 Harr.              (Del.) 80.

            State v Plaisted, 43 N. H. 414.

                                 VI.

                 AVOIDANCE OF INFANTS' CONTRACTS.

            A large majority     of an infant's         contracts may be

disaffirmed by him at his election.           But having once exercis-

ed that right he cannot retract.          Thus it was held in the case

of Edgerton v Wolf, 6 Gray 458, that if he surrenders property

received under a contract of purchase, evidently intending

thereby to give up all his interest in it, he cannot afterwards

recall   such surrender   and   retake the property.               As for the
Case 1:24-cv-00496-JAO-WRP   Document 49-2       Filed 03/18/25      Page 21 of 32
                              PageID.1355

time of the exercise of this right,            contracts respecting

personal property may be disaffirmed during the infancy of tL

maker,     or within a reasonable   time      after     he attains      nis maj-

ority.

              Chapin v Shafer, 49   I.   Y.    407.

             Stucke    v Yorder, 33 Ia. 173.

             But the rule is otherwise in regard to real estate.

In the case of Zouch v Parsons, 3 Burr.,                the question arose

whether     the conveyance   could be avoided by him during                infancy

and it was held that it could not.             This case has been deemed

conclusive authority on this point, and has been generally

followed since.

             Emmons v Murray, 16 N. H. 386.

             Bool v Mix, 17 Wend. 119.

             The modes of disaffirmance are various according to

the nature of the act or contract to be disaffirmed, and the

circumstances of the particular case.                 The general rule is

that there must be some positive and decided act of dissent

adverse to the original act.

            Jackson v Carpenter,    11 Johns.          539.

             Th s a   contract of service may           be disaffirmed by

simpl-y leaving tne employer and engaging in the service of

another,    or by an action for tne value of the labor performed.

             Thitmarsh v Hall, 3     Denio 375.
Case 1:24-cv-00496-JAO-WRP      Document 49-2      Filed 03/18/25   Page 22 of 32
                                 PageID.1356

           A conveyance of the same land after majority by

a deed inconsistant with the first has been held sufficient.

           Irvine v Irvine, 9 Wall. 617.

           But    it is held in New York before suit can be brought

by an individual to recover the possession of lands conveyed

during infancy,        he must make an       entry upon the lands      and exe-

cute a record deed to a third person, or do some other act of

equal notoriety in disaffirmance of the first deed, such as

demanding possession or giving notice of an intention not to

be bouni by the first        deed.

           Voohries       v Voohries,       24 Barb.   150.

           Illinois,       however,    and dome other states        by statute

make conveyances of minors binding unless disaffirmed within

three years after ',is majority; if not within that time they

;vill be upheld.

           Blaukenship v Stout, 25 Ill. 132.

           It seems to me that this is the reasonable rule,

and one which ought to be adopted in all the states.                     Three

years is a reasonable time, and it seems to me would do away

with a great deal of litigation to adopt such a rule general-

ly.

                                     VII.

MUST THE INFANT RESTORE THE CONSIDERATION UPON RESCINDING?

           The next point to be considered is xhether or aot

the infant must return the consideration upon repudiating the
Case 1:24-cv-00496-JAO-WRP   Document 49-2   Filed 03/18/25   Page 23 of 32
                              PageID.1357                                19

contract, and this is a mooted question at this time with the

courts.    In the   case of Bartholemew v Finnemore, 17 Barb.

428, where an infant purchased a horse of the defendant and

paid for him in property which he delivered to the defendant,

and after he had kept the horse about two months, during

which time by misuse the horse was greatly lessened in value,

and then tendered him back and demanded a return of the prop-

erty, it was held that he could not recover the property

without returning the consideration received by him.               Justice

Hand in discussing this point said:          "After the infant has en-

joyed the benefit of the property in whole or in part, there

is no equity in his avoiding his contract and reclaiming the

property he delivered in exchange, without          restoring the con-

sideration, or at least an equivalent."

           This same view is held in the following             cases:

Holmes v Blogg, 8 Taunt. 508.       Taft v Pike, 14 Vt. 415.

Kitchen v Lise, 11 Paige 107.

           But in the case of Carpenter v Carpenter, 45 Ind.

142, Judge Worden reviewed a large number of cases, and holds

that the consideration need not be returned.            In his opinion

he says:   "The contracts df infants except those             for necessa-

ries are void or voidable;      and those in relation to personal

property may be rescinded during infancy.           The false represen-

tations made by the plaintiff      (the infant), as alleged, that
Case 1:24-cv-00496-JAO-WRP              Document 49-2    Filed 03/18/25     Page 24 of 32
                                         PageID.1358                                   20

he was of full       age,    does not make the contract               valid,     and does

not estop him from setting up his infancy in avoidance of tne

contract,      although it        may    furnish ground of an action against

him for tort.         ..      .     .     Upon icoking into the case the

plaintiff      was not bound to make any tender of the property at

all    before he    could maintain the action.                Upon the avoidance

of the      contract by the plaintiff,             the case     stood as if       none

had been made,        and the plaintiff's           claim to his horse became

at once      complete."

               But it      is held in the case of Green v Green, 69 N.Y.

553, if the infant has consumed, or wasted, or disposed of the

consideration received, he can still disaffirm, ani                            that

without      restoring the consideration, and the other party has

no remedy.

               Stout v Merrill, 35 Ia. 47,               is   frequently cited by

the different authorities as holding tliat                     the infant       cannot

rescind without restoring the                 consideration;       but a     careful

reading of the case will show that it holds precisely with

the    case of Green v Green, 69 N. Y.                  , supra, that if he has

the consideration he must return it; but if he has wasted it

during minority, he can recover back his property without re-

turning the consideration.                  The ju- e in that        case    cites Sec.

2540 of the Statutes of Iowa which reads as follows:                             "A minor

is    bound not only for contracts               for necessaries,         but also his
Case 1:24-cv-00496-JAO-WRP   Document 49-2   Filed 03/18/25   Page 25 of 32
                              PageID.1359                                 21

other contracts, unless he disaffirms them within a reasonable

time after he attains his majority, and restores to the other

party all money or other property received by him by virtue

of the contract, and remaining within his control at any time

after his attaining his majority."           So construing this stat-

ute liberally it   would seem to imply tflat if        the infant had

wasted the consideration before majority,         he could Liisaffinr

without restoring the consideration.         I think that the weight

of authority will uphold the following rule:            If    the infant

has or has had the consideration since attaining his majority

he must in order to affirm return the consideration; but if he

has wasted the consideration before reaching majority, then

he can disaffirm the contract and recover back his property

without returning the consideration.

           Green v Green, 69 N. Y. 553.

           Stout v Merrill, 35 Ia. 47.

           Chandler v Simmons, 97 Aiass.      506.

           One principle seems to be firmly established by the

courts:   That the infant cannot on attaining his majority hold

to an exchange or purchase made by him during infancy and its

advantages, and thus affirm that while pleading his infancy to

avoid the payment of the purchase money.

          Kitchen v Lee, 11 Paige 107.

          Kerr v Bell, 44 Mo. 120.
     Case 1:24-cv-00496-JAO-WRP             Document 49-2      Filed 03/18/25    Page 26 of 32
                                             PageID.1360

                    Klein v Bell, 6 Conn. 494.

                    Thus an infant mortgagor cannot                    repudiate his pur-

chase money mort~fage and still keep t'Ie property.

                    Curtis v Yc        Dougal,   26 0.   St.     66.

                    Otter man v Moak,         3 Sandf.   Ch.     431.

                     hite     v Brouch,      51 Int.   210.

                    The     effect of the disaffirmance of a               contract which

is     wholly executory           is   to    release t ].eaaiuit        as well    as trhe

infant, and place them                   both in statu quo.             If it    is executory

only on the part of the a~ult,                    the infant may recover back

whatever he has advanced,                   or the value of services rendered

by him under it,              unless he has received benefit from it before

disaffirmance, in which case he cannot recover.

                    Millard v Howlett, 19 Wend. 301.

                    The aim of the courts on this point seems to be to

do     justice       as nearly as possible between                the parties,       and if

it     is   possible without taking away too many of the righ'1ts of

the infant, to place them in the position in which they were

at the beginning of the traRmaction.

                                               VII.

                   LIABILITY OF         TIFARCT FOR TORTS AND FRAUDS.

                    Infants are generally :;eld responsible t,;e sace as

afIults for torts             committed by tf.em,        and when they are liable

at all           the remedies and rules of evidence                 are the      same a6ainst
 Case 1:24-cv-00496-JAO-WRP     Document 49-2         Filed 03/18/25   Page 27 of 32
                                 PageID.1361

them as against       adults.

            Haile v Lillie, 3 Hill 149.

             Hartfield v Roper, 21 Wend. 615.

             Bullock V Babcock, 3 Vend.           391.

             So   some authorities hold titat an infant who hires

a horse to go to a place agreed on, but goes to some ot.er

place in a differeit direction, he is liable in trover or con-

version for an unlawful conversion of the horse.

            Homer v Thyng, 3 Pick. 392.

            Morton, J.,   who delivered the opinion in this case,

said:     "The defense   in this   case is infancy.              It is contended,

too,    that this action is founded in contract, and tiat t-e

defendants cannot be ousted of this         defence by changing trie

form of the action from contract to             tort.       Infants are liable

in actions arising ex delicto, but not those arising ex con-

tractu.    The defendant, however, contends t -at there is a

qualification of this rule, and thiat infants are liable for

positive    wTrongs only, and not for constructive tort.                   But we

know of no such distinction. . . . .              .     . It is true an infant

cannot become a trespasser by any prior or subsequent consent,

but he may be guilty of tort as well by omission of duty as

by the commission of positive wrongs.                   He is also liable       fo-

frauds as well as     torts, and his liability is to be determined

by the real nature of the transaction, and not by the form of
     Case 1:24-cv-00496-JAO-WRP  Document 49-2 Filed 03/18/25 Page 28 of24
                                                                         32
                                  PageID.1362
the action.         Although an infant shall not be charged in tro-

vel- for        ,oods sold to him with a knowledge of his infancy,

and althougn an action will not lie against an infant for af-

    firming himself to be of full age in         the execution of a con-

tract,         yet detinue will lie against an infant for joods deliv-

ered upon a special contract for a specific purpose after the

    contract is avoided, and assumpsit will lie against an infant

    for money embezzled,     for the court will look through the form

of the action into the tortious nature of tfe transaction."

But Pemrose v Curren, 3 Rowle (Penn.) squarely denies tie

proposition, and holds in a similar case that an infant may

plead his infancy in         bar of an action for dama~es,          and the

reasoning of Judge Rogers in this case seems to me to be

sound.         He says:   "This is a transaction in which parents and

guardians have a deep interest, and particularly those who

educate their children from under their own eye, at a distance

in our seminaries of learning.            It   ar-o ints to tuis:    If a

keeper of a livery stable, or am innkeeper, whose business                    it

is        to let out horses and carriages to hire, chooses to en-

trust tuem to minors contrary to the assent and wishes of

their parents, and an injury is done by the young man in the

folly and heedlessness of youth, going to a -iffereit place

or farthIer        than was intended,   the fatuer must eith-er pay the

damages or suffer his child to be disgraced by imprisonment.

.     .    .
Case 1:24-cv-00496-JAO-WRP       Document 49-2   Filed 03/18/25   Page 29 of 32
                                  PageID.1363

 .....           If the plaintiff should succeed, tf-ere would be

no want of pretences upon which infants mij-t be charged, and

there would be an end to the protection                ,hich the law so wise-

ly affords them. .           .   ."   Judge Rogers also in his opinon

severely criticizes Homer v Thyng, and says that the funda-

mental error in that case consisted in considering the conduct

of the infant as a violation of a contract, whereas tiiere was

no contract which could be enforced.             While the Pennsylvania

rule seems to me to be the better one of the two,                 yet I think

 the weight of authority is in favor of the Massachusetts rule.

           New York follows the Massachusetts rule, but limits

it somewhat.    In the case of Moore v Eastman, 1 Hun 578, Judge

Gilbert laid down the following rule:                 "To render an infant

liablejwho has hired a horse,           in an action for trespass, he

must do some willful and positive act which amounts to an

election on his part to disaffirm the contract; a bare neglect

to protect the animal from injury, and to return it at the

time agreed upon is not sufficient.              If    ie willfully and in-

tentionally injure the animal, an action of trespass will lie

against him for the tort;         but not   if the injury complained of

occurred in the act of driving the animal through his unskil-

fullness and want of knowledge, discretion, and j-ad6ment..

           I think there is no doubt but tat the proposition

laid &odn in Homer v Thyng, tiiat an action -,ill not lie against
Case 1:24-cv-00496-JAO-WRP      Document 49-2    Filed 03/18/25        Page 30 of 32
                                 PageID.1364                                     26


an infant    'rho obtains property by representing            himself to be

of full    age,    has been overthrown by the       vcignt    of authority.

             Badger v Phinney, 13 Mass. 343.

             Wallace v Morse,      5 Hill 3S1.

             Xilgore v Jordan, 17 Tex. 349.

             Hemphill, C. J.,      in his opinion in the Texas case,

above cited, gives an exhaustive review of the law upon this

point,    going back    to t: e Roman Law and following           it     up to

date, and he declares that the authorities are                sufficient to

show that the fraudulent acts and concealments or representa-

tions of infants       .'rlen made with a view to deceive              and defraud

others will be as binding upon them as upon adults, and their

contracts    will be enforced against       them.

             From this brief review of the contracts of infants

I think the following propositions, with slight exceptions,

are substantially correst, and can be maintained in New York:

             (1)      The   contracts of infants,      except for neces-

saries,    .'fhich are binding, are not void but voidable.

             (2)     That the infant cannot affirm his voidable

contracts until he arrives at majority.

             (3)     That he can disaffinn his contracts .,iith re-

gard to personalty at any time,         but contracts in relation to

real property cannot be disaffirmed until he reaches majority.

             (4)     That the affirmance of his        contracts may be
Case 1:24-cv-00496-JAO-WRP       Document 49-2   Filed 03/18/25   Page 31 of 32
                                  PageID.1365                                  27

express   or implied,     and what will be       an implied ratification

depends upon the circumstances in each case.

            (5)      That if    the infant has the property         in   his

possession at the time of disaffirming, or has had it since

he attained       his majority,    he must    return tne consideration

upon disaffirming.

            (6)      That the    infant is liable for his willful torts

an'   false representations        the same   as adults.
Case 1:24-cv-00496-JAO-WRP   Document 49-2   Filed 03/18/25   Page 32 of 32
                              PageID.1366
